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                      Exhibit 15
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                                                  DSS
      Date: September 28, 2017
      Ref. No.: L0064MOD/DSS/TF/2017

      Att.: Hussein Abdullah Hussein
      Manager (Acting) of Procurement Department
      General Head Quarter
      Qatar Armed Forces
      P.O. Box: 37
      Doha-Qatar


                                       Subject: Invoices
                          Contract No.: (TAC/PD/DC/S88/2013-2014)
      Ref. No.: (SP/MU/ 8500/2631                        Date: August 10, 2017

      Dear Sir,

          1. Digital Soula Systems extends its sincere greetings and expresses its thank to you for
             sending the letter referred to above regarding the contract concluded between Qatar
             Armed Forces and Digital Soula Systems Company (DSS).
          2. In this context, Digital Soula would like to highlight some important points as
             follows:
             A. The contract concluded between Qatar Armed Forces and Digital Saula Systems
                  is still in effect and in force up to date.
             B. Accordingly, the performance bond given by Digital Saula Systems in the interest
                  of Qatar Armed Forces, as per the terms and conditions stated in the contract, is
                  still valid as the said contract has not been terminated or revoked by Qatar Armed
                  Forces.
             C. No more invoices will be sent to the General Head Quarter of Qatar Armed
                  Forces regarding advisory services in the future. The monthly invoices will be
                  compiled and submitted periodically to HE Minister of State for Defense Affairs
                  in the State of Qatar for follow up.

      Thanks for your Kind cooperation.

      Best regards,
      Mohamed Abdullah Al Mannai
      Chairman of the Board
      Digital Soula Systems

          (the original stamped with the seal of Digital soula Systems and Qatar Armed Forces)
